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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 LAFAYETTE DIVISION

JAMES RUCKER                                   )
                                               )
                        Plaintiff,             )
                                               )
                        v.                     )      Cause No.: 4:21-cv-00013-JTM-JEM
                                               )
CITY OF DELPHI, INDIANA,                       )
CARROLL COUNTY, INDIANA,                       )
FORMER DELPHI POLICE CHIEF                     )
STEVE MULLIN, in his individual                )
capacity, DELPHI POLICE CHIEF                  )
BROOK MCCAIN, in his official capacity, )
CARROLL COUNTY SHERIFF                         )
TOBE LEAZENBY, in his official and             )
individual capacities, OFFICER COLIN           )
DECKARD, in his official and individual )
capacities, OFFICER ALEX PARKINSON, )
in his official and individual capacities, and )
DEPUTY DREW YODER, in his official )
and individual capacities.                     )
                                               )
                        Defendants.            )

                                   JOINT STATUS REPORT

       Come now the Plaintiff, James Rucker, and Defendants, City of Delphi, Indiana; Carroll

County, Indiana; Former Delphi Police Chief Steve Mullin, in his individual capacity; Delphi

Police Chief Brook McCain, in his official capacity; Carroll County Sheriff Tobe Leazenby, in his

official and individual capacities; Officer Colin Deckard, in his official and individual capacities;

Officer Alex Parkinson, in his official and individual capacities; and Deputy Drew Yoder, in his

official and individual capacities, jointly, hereby provide the Court with their Joint Status Report,

and in support thereof state as follows:

   1. On March 23, 2021, the Defendants filed a Joint Unopposed Motion to Stay [D.E. 14]

       pursuant to Younger v. Harris, 401 U.S. 37 (1971).
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        2. On March 25, 2021, the Court issued its Order [D.E. 15] granting Defendants’ Joint

             Unopposed Motion to Stay, and Ordered the parties to file a status report with the Court on

             or before June 25, 2021.

        3.   As of the date of filing of this Joint Status Report, the proceedings of the related state-

             court prosecution of Plaintiff remain pending without an impending date of disposition.

             See State of Indiana v. James Rucker, 08D01-1902-F6-000019.

        4. Therefore, the Parties jointly request that the Court set a deadline in due course for the

             parties to confer and file a second joint status report.

             WHEREFORE, the Parties, jointly, hereby notify the Court that the proceedings of the

    related state-court prosecution of Plaintiff remain pending, request a deadline in due course for the

    parties to confer and file a second joint status report, and for all further just and appropriate relief.

                                             Respectfully submitted,


/s/ Austin Andreas                 /s/ Joseph W. Smith                         /s/ Samuel W. Hughes
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Bradley Keffer, #27195-49          Matthew S. Clark                            Liberty L. Roberts
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Attorneys for Plaintiff            Attorneys for Carroll County Defendants     Attorneys for Delphi Defendants
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this date, a copy of the foregoing Joint Status Report was filed
electronically. Service of this filing will be made on all ECF-registered counsel by operation of
the court’s electronic filing system. Parties may access this filing through the court’s system.

                                                    /s/ Austin Andreas
                                                    Austin Andreas, #35155-53
                                                    Bradley A. Keffer, #27195-49

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